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13                                     UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15                                       SAN FRANCISCO DIVISION
16
                                         )               No. CR-05-00395-CRB
17   UNITED STATES OF AMERICA,           )
                                         )
18         Plaintiff,                    )
                                         )               [PROPOSED] ORDER FOR RETURN OF
19                                       )               DANNY LEE’S PASSPORT
           v.                            )
20                                       )
                                         )
21   YOUNG JOON YANG, et al.,            )
                                         )
22                                       )
           Defendants.                   )
23   ____________________________________)
24
25          Defendant Nam Young Lee surrendered her passport to the Clerk of the Court in the
26   above case. The passport of Danny Lee, Nam Young Lee’s husband, was also surrendered. Because
27   Danny Lee is not a defendant in the above case, Danny Lee’s passport should be returned to him.
28
     No. CR-05-00395-CRB
     [PROPOSED] ORDER FOR RETURN
     OF DANNY LEE’S PASSPORT
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1           Accordingly, it is HEREBY ordered that, upon presentation of a copy of this order, the Clerk

2    of the Court shall return Danny Lee’s passport to him or to Defendant Nam Young Lee’s counsel,
3    Gary Laff, Esq.
4           IT SO ORDERED.
5
6    DATED: September 6, 2005                      _______________________________
                                                   JOSEPH C. SPERO
7                                                  United States Magistrate Judge
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     No. CR-05-00395-CRB
     [PROPOSED] ORDER FOR RETURN
     OF DANNY LEE’S PASSPORT                          2
